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Offender Disciplinary Report

 

 

(Tye of Report: " -Ofetde
Stateville CC Date: 01-14-2014
“Oo Disciplinary Investigative Facillly
Offender Name: SMITH, Tyne IDM: | NOIb34

 

Offenss Information:

Observation Date: 4-14-2018 Approximate Time. = 1:55 gem Location: — Investigatians Ustit
Qffensels): DR 504: Investigative Status

Observation; Ga thy shove dale ond upprosinute time, imate SMITH, Tyme NOLO34, js ictus placed in Investigative Status at Stuteville
CS, for the sufety and security of the institution aud stall, SMITL is being held incon arennf confinement far a peried uf time. sol ig execed 30
days, Pending the outeome of this investigation, SMITH will cither be charged with a departiventul cules vioktion (3) ur reteused wilhout
charges, SMITU was identified by Institutional Graphics, End of report,

Witnass(es): V.PEREZ

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C7 Check if Offender Disclptinary Conttwatton Page, DOC 0318, is oilsched lo describe additional tacia, observations or wilnesses. ele
U.Shatahi IHG) . 1-1 2018 3 Bom
Raporting Employee {Print Nome} Badge Jd Signature ~ Bate “Time __
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Shift Revi ry Confinamant Cw GY tro sii fom Wa Uae Ce OFFENSE

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Printed Namo and Spdgo # Shift Supérvisor's Poly Oate

Ae eh Gow WAL. ett. : {For Transition Centers, Chief Administrative Officer)
Reviewing Officer's Decision: (J Confinement reviewed by Reviewing Officer Comment:
ie) Major infraction, submitted for Hearing Investigator, il necessary and lo Adjusiment Committee
Minor Infraction, submiltad to Program Unit Ltt am
0 Sg" . rg ~ ced Ne 07 i-i ee?
L444. LEA LOOT Dee
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Procedures Applleahls to Hearings Conducted by the Adjustment Committed on Discipiinary Reports
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questioned afong tines you sugaesi. You must indicate in advance of tha hearing the witnesses you wish to have interviewed and spaciy what thay couki
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unabie lo prepare a di You may req of time to prepare for your h

© Chock if offender refused to sign

 

 

Cllender's Signature toe
Sarving Employee (Print Name) , Badge & Signature
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ee Dram.
Date Served Tinte Served

Ot hereby agree to waive 24-hour notice of charges prior (o the disciplinary hearing.

 

Olfendor's Signatura “ a

{Detach and Return to the Adjustment Commitlee or Program Unit Prior to the Hearing)

 

Date af Disciplinary Report Print oliandars name ibe

| am requesting (hat the Adjuslment Committes or Program Unil consider calling the following witnesses regarding the Disciplinary Report
af the above date:

 

 

Pini Name of witness: ‘Witness badge or 10d Asctyned Cott “Title (if applicnite) ee
(i apptcable)
Witness can testify to:
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(Il appiiertte)

Witness can taslify to:

 

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Page 1 of 1.

Distribution: Master Fle Pe tantred ont Beare bad Pager NOC 0317 (Rev. 2A20I7)
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fi ILLINOIS DEPARTMENT OF CORRECTIONS

Oe eee Offender Disciplinary Report

Tyne tote CO Date 01-15-2018
E)Disciptinary () Investigative Facility
Offender Namo: _ SMITH. Tyrone . IDM: Noto
. . . Qam .

Observation Date: :_ 01-14-2018 = Approximate Time: 1:85 pm = Location: — talel Ofice ow.
Offense(s): DR 504; 203; DRUGS & DRUG PARAPHERNALIA: 311 -PAILURE TO SUBMIT TO MEDICAL OR FORENSIC TESTS _

 

servation: (NOTE: Bach offense itenttied above must be substantiated.) On the above date and approximate tima Olfender SMITH, Tyrone ND1G34 was
escorted to the Intel Uni Lo provide a usine sempie for drug tasting. Al 2:00PM SMITH was noliied of the start of Oya two hour limit to provide 3 urine sample. Every thity
Frunutas (2:30 and 3:00) SMITH was clferod water, Al 3:30PM Offender SMITH notified this Rul thal ha{Smsth) is refusing to provide a uring sample

Witness(es): _ V.PEREZ

B Check i! Offender Disciptinary Continuation . BOC 0318, ts attached to dascriba additimnal facts, observations or witnesses.

 

 

     
    

 

 

 

 

 

 

Hi Shatahi aR61 oo te ae
Reporting Employee {Print Name) Badge v gnatura Dato Time
Disciplinary Action:
Shift Review: [)Tomporary Confinament C) Investigative Status Reasons:
Priniod Namo and Badge Shift Supervisor's Signature Oxto
(For Tronskion Centers, Chial Administrative Officer)
Revi Gi Decision: [[) Confinement reviewed by Reviewing Officer Comment:

 

N Major Infraction, submitied for Hearing Investigater, if necessary and lo Adjustment Commiltee

C1 Minaginfraction, submitted to Program Unit
SP LAlEEP Ty SE J te (P

 

   
   

 

 

 

 

 

 

 

Print Reviewing Officer's Ndma and Badgo # Reviewing Opies Signatare Bate
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{ Procedures Ap die to all Heart e on Igative sad Ol nary R
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a3 records or documents.
Procedures Applicable to Hearings Conducted by the Ad} c on Disciplinary Reports
You may ask that bo ji and, if y and they may be called (o testify during your hearing You may ask that wiinesses be

 

quastioned siong tines you suggost. You musi indicate in advance of the harring (he witnesses you wish fo have inlerviewnd and specify whal (hey could
testify to by filling out the appropriaie space on (his form, tearing Uf off, and returning tt to Ue Adjustment Committee. You may havo staff assistance If you are
unable to prepare a defense. You may reques! 6 magonable oxtension of time to prepare for your hearing.

O) Check if offender refused to sign

 

Ollender's Signature {Dw

 

Serving Employee (Print Name} Radge # “Signature

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Onm

 

“Bate Sarvod Tima Served
0 | hereby agree to waive 24-hour notice of charges prior {o the disciplinary hearing.

 

Offenders Signature — oe ie

(Detach and Return to the Adjustmont Committes or Program Unit Prior to tho Hoaring)

 

Dale of Disciplinary Revo —*=~C*«~S én ener ee “Da
Lam requesting that the Adjustment Commiltee or Program Unit consider catling tha following witnesses regarding ihe Disciplinary Report
of the above date:

 

 

 

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tH applicable}

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Distribution: Master Fite Tras dra Rorvelet Pays DOC 0317 (Rev. 7/2007)
Offender

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Case 3:19-cv-00637-RJD Document1 Filed 06/12/19 Page 31o0f45 Page ID #31

 

 

 

 

 

 

 

Cormiare-~cS
STATE OF ILLINOIS -- DEPARTMENT OF CORRECTIONS
ADJUSTMENT COMMITTEE
FINAL SUMMARY REPORT
Name: SMITH, TYRONE [BOC Number: NO1634 Race: BLK
tearing Date/Time: 1/23/2018 08:10AM Living Unit: MEN-W-01-25 Orientation Status: N/A
Incident Number: 201800100/1 - MEN Status: Expunged Final
Date Ticket # Incident Officer Location Time
1/14/2018 201800100/1-MEN PEREZ, VICTOR M STA-INTERNAL AFFAIRS 01:55 PM
Offensa Violation Final Result
203 Drugs & Drug Paraphernalla
Comments:orug test
Witness Type Witness ID Witness Name Witness Status
No Witness Requested
RECORD OF PROCEEDINGS
Ticket was dismissed
BASIS FOR DECISION
Ticket was dismissed

DISCIPLINARY ACTION (Consecutive to any priors)

 

 

 

 

 

 

RECOMMENDED FINAL
—EXPUNGED—
Basis for Discipline:
Signatures
Hearing Committee 2 +
BROOKMAN, KENT E - Chair Person J4F 01/23/18 WHI
~. Sig yatu: . Date Race
HART, JASON N ( eA 01/23/18 BLK
Signature Date Raco
Recommended Action Approved

 

Final Comments: N/A

 

fdla®
01/25/18

Signature Date

  
 
      

The compfitted persofffikg’ iba yght lg appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

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tun Date: 2/5/2018 12:39:22 Page 1 of 1
Case 3:19-cv-00637-RJD Document1 Filed 06/12/19 Page 32 0f 45 Page ID #32

Lenedlert- oS
STATE OF ILLINOIS -- DEPARTMENT OF CORRECTIONS

ADJUSTMENT COMMITTEE
FINAL SUMMARY REPORT

Name: SMITH. TYRONE
tearing Date/Time: 2/15/2018 09:34 AM
{incident Number: 201800145/1 - MEN

IDOC Number: NO1634
Living Unit: MEN-W-01-25
Status: Expunged Final

Race: BLK
Orientation Status: N/A

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Ticket # Incident Officer Location Time
4114/2018 201800145/1-MEN SHALABI, HANY 8 STA-INTERNAL AFFAIRS 01:55 PM
Offense Violation Final Result
203 Drugs & Drug Paraphernalia
Comments:failed to provide urine
Witness Type Witness ID Witness Name Witness Status
No Witness Requested
RECORD OF PROCEEDINGS
Ticket was expunged
3ASIS FOR DECISION
Ticket was expunged
JISCIPLINARY ACTION (Consecutive to any priors)
RECOMMENDED _ FINAL
—EXPUNGED—
Basis for Discipline:
Signatures
Hearing Committee 4 d,
BROOKMAN, KENT & - Chair Person VEZ 0215/18 = WHI
/’ Sipnatyre Date Race
HART, JASON N ; 02/15/18 BLK
& Signature Date Race
Recommended Action Approved
?jnal Comments: N/A
CQUELINEALASHBROOK / JAL 2/25/201 Ws 02/26/18
Signdtufe Date

 
   

 

foSarving Copy to Committed Person

fn Date: 2/27/2018 14:21:21

) to appeal an adverse decision through the griavence

Page 1 of 7

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f Wher/Served -+ Date and Time

lure established by Department Rule 504: Subpart F.
Case 3:19-cv-00637-RJD Document1 Filed 06/12/19 Page 33 0f 45 Page ID #33
LaxKibil-=

(LUNOIS DEPARTMENT OF CORRECTIONS {’ ¥ len .
Offender Disciplinary Report

 

[ Type of Report, “a cite (ce Date: 52018
* . Stuleville Comeconal Center

| Disciptinary [7] Investigative Facility

Olfender Namo: SMITH, TYRONE DH: | NOLOM

Offense information:

. Dam.
Observation Dale: SARAQ1HR Approximate Tima: = 2:(H) pm. Location: = Visiting Room
ffense(s); 04; 203 - Drugs und Drug Paraphermalia 310 Abuse of priviledges

Observation; (NOTE: Each offense Wdentified above must be substantiated.) This IDR is being completed af the conctusion of an investigation, On
MLA/t8 at Stateville, the lntetligence Unit was notified that offenders CRAIG LOMAX K77112 and TYRONE SMITH NOGG34 both hint visits
and monitored the video camera foutage of the visits, LOMAX received a visit from his girlfricnd (CRYSTAL PEREZ. Visitor # 8667413} and
SMITH was being visited by JEANETTA MELON (Visilor # 05419} ) and LOMAX's two juvenile daughters. LOMAX and SMITE were
seated next in cach wher, and during the visit here were numerous seat changes by the visitues and several fond items bought Hus the vending
machines, ALESS pm, LOMAX (table 22) give a potate chip bag to MELON (table 21). MELON retrieved a small package from ber ledl
buot and plsced it inside the potato chip bug. She then handed the hag back ln LOMAX,
Witness(es): 1, STARKEY
~~~... {2 Gheck # Offender Disciptinary Continuation Page, DOC 0318, fg sitzched to describe additional facis, cbservations or witnesses.
_livma Mitchell Hass teh ih . SHIR

 

 

 

   

 

 

 

    

 

 

- Haw
Reporting Enwloyse (Print Namal "Badge # ~~ ~~" Signatur Bate time
| . hee ue ss ve oo Hisgiplinary Action: eee
Re. A Am reas See ewe mem now ne wines et een - oe ae . + eee ae - - _—.
Shift Review: (Temporary Confinement C) invesligative Status Reasons:
Printed Name and Badge # Shift Supervisor's Sgnature Dota

 

_ (Far Transition Centers, Chief Administallve Officer)

 

Reviewing Officer's Decision: (] Confinement reviewad by Reviewing Officer Comment:

Major Infraction, submitted for Hearing Investigator, if necessary and to Adjustment Committee
C) Minor Infraction, submitted to Program Unit

Lhtae ii HN
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whe
Print Reviewing Clficor'a Namo and Badge # Roviewing 0! 8 Stgneture ~~
if Hea ing Investingter's Re Re id (Aduh Con octionst ral ve Ti Only): = 4) h
fl 3. tle Lt ( 1 AI YID |:
Print Haaring investigator's Name and Badge # Hearing tiv petigator’s Stgnatura Date . :
j Pr Applicabie to allt 4 ts Ig end Otsclpitnary Reports
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as recordsior documents. .
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You may apk that wit bei fewed and, f yond they may be called to testily during your hearing. You may ask that witneeses be

 

questioned aiong Hines you suggest. You must indicate In odvence of Ue hearing the witnesses you wish to have interviewed and specily whal thay could
testify to by Citing ou the appropriate space on this form, tearing it off, and retuating it to the Adjustment Committee. You may have staff assisianne Hf you are
unable to prepare a defense, You may requesl a reasonable extcnsion of lime to prepere for your hearing.

 

OT) Check{if offender refused to sign

 

 

 

 

 

 

 

 

 

i Offender’s Signature : Ine
|
“Serving Employee (PrintNamop Badge # “~ “Signature =
1 Damn
pe ee nee ne enmm se weg een eee “OO
Date Senpd Tima Served
I] | hereby agree to waive 24-hour notice of charges prior to (he disciplinary hearing.
~Offender’s Signature (On —
: {Ostach and Return to tho Adjustment Commilttee or Program Unit Prior to the Hearing}
“ Daie of Diselilinany Report “Pantoffender's name ose mm
! am requesting that the Adjustment Committee or Program Unit consicter calling the following witnesses regarding the Disciplinary Report
of the above date:
“Bunt Name ofweness Wtnace badge or itd Assigned Geb 7 Tite (Tanpheatiay ee
{it applicable)
Witngss dan testify to: eee aoe bows o seeemine mene nnrning eae
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Page 1 of _-
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Let fa 2)
ILUNGIS OEPARIMENT OF CORRECTIONS :

Offender Disciplinary Continuation Page

_— Sateville OC.
“Facibly
[x] Disciplinary Report [[) Investigative Report C] Disciptinary Summary —[D) Adjustment Committee Summary

Reportincident Date: pTapeare Sf, tfdd ba _... _ Incident # (a appicantey:

 

 

Offender Information:
Offender Name: SMITH, TYRONE ID #: NOT634

 

 

 

Several minutes later, LOMAX handed the bag back to MELTON and MELTON handed the bag to SMITH. Intel/IA staff
went to the visiting room and restrained LOMAX and SMITH while uther unit staff continued to monitor the camera. While
being escorted out, SMITH dropped a small package (a condom with a hard grey substance inside of it) on the floor. The
contraband was recovered and taken to the (nvestigations Unit. The substance weighed 3.2 grams and was identified by
Wlinots State Police as opiates. Additionally, a silver chain and two silver dog tags were also recovered inside the potato
chip bag. Offenders LOMAX K77112 and SMITH N01634 identified by institutional graphics.

Page 2 of 2

Usstribution, Maaler File. Offender, Pema Som Mec hd Pages DOC 0318 (RM 82606)
Footy {2} (taptnces 17.202
06/12/19 Page 35 0f45 Page ID #35

   

Case 3:19-cv-00637-RJD Document,

John. Baldwin
Acting Director

Bruce Rauner
Governor

The lilinois Department of Corrections

eae

 

1301 Concordia Court, P.O. Box 19277 « Springfield, IL 62794-9277 » (217) 558-2200 TDD: (800) 526-0844
November 29, 2018

Tyrone Smith
Register No. N0O1634
Menard Correctional Center

Dear Mr. Smith:

This is in response to your grievance received on September 19, 2018, regarding a ‘disciplinary report dated May. 8,
2018; which was alleged to have occurred at the Stateville Correctional Center. This office has determined the issue will
be addressed without a formal hearing.

The disciplinary report dated May 8, 2018 at 2:00pm was written by Lt. Byron Mitchell charging violations of DR504: 203
— Drug & Drug Paraphernalia. Offender Smith stated, “ Not guilty because it is out of timeframe.”

The Adjustment Committee hearing was conducted at Menard Correctional Center on May 15, 2018 at 9:01 am. The
Adjustment Committee found the grievant guilty of the 203 charge. The recommended discipline was : 6 Months C
Grade, 6 Months Segregation, 6 Months Commissary Restrictions, and 6 Months Contact Visitation Restriction.

This office reviewed the offender's grievance dated May 30, 2018, the disciplinary report dated May 5, 2018, and the
Adjustment Committee Summary (201800635/1 - MEN).

Based on a total review of all available information and a compliance check of the procedural due process safeguards

outlined in DR504, this Chairperson is recommending the disciplinary report be expunged due to none compliance with

DR504.30. The discipline action taken in this ticket is e deleted. fe
Le

FOR THE BOARD: Se Ee
Dave White
Administrative Review Board
Office of Inmate Issues

| concur, Adjustment Committee at Menard Correctional Center is to proceed accordingly, and Records Office at Menard
Correctional Center is to proceed accordingly. oe

€ John R. Baldwin wfypd

Acting Director

Cc; Warden, Menard Correctional Center
Warden, Stateville Correctional Center
Adjustment Committee, Menard Correctional Center
Record Office, Menard Correctional Center
Tyrone Smith, Register No. NO1634

 

Mission: To serve justice in Illinois and increase public safety by promoting positive change in
offender behavior, operating successful reentry programs, and reducing victimization.

www.illinois.goviidoc
 

 

 

b

 

 

 
 

Case 3:19-cv-00637-RJD Document1 Filed 06/12/19 Page 37 of, 45 wage ID #37

Housing Unit:
LUND DEPARTMENT OF CORRECTIONS

OFFENDER'S GRIEVANCE

 

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NATURE OF GRIEVANCE:
() Personal Preperty (1) Mall Handling (1 Restoration of Good Time =D ADA Cisabitity Accommodation
E) Staff Conduct C] Oletary (0 Medica! Treatment CO HIPAA
1 Transfer Denial by Facility Other LOM PLIODES
© Oiscipiinary Report: ! t

 

Cate of Rapest : Faciitty whero issuad
Note: Protectiva Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as 5 Disciplinary Report, Shakedown Rocord, etc.) and sand to:

Counselor, uniags the issue invalvas discipiine, is deemed an emergency, cr ts subject to direct review by the Administrative Review Board.
Gravance Officer, only If the issue involves discipilne at the present facility or issue not resolved by Counselor.

Chief Administrative Officar, only f EMERGENCY grievance,

Administrative Review Board, only if the Issue Involves protective.custedy, Involuntary adranistration of psychotropic drugs, Issues from
another facllity except medical and personal property Issues, or Issues not resolved by the Chief Administrative Officer,

 

 

Summary of Gri ce {Provide i f a ion of what happ wher and where it happened, and the name or identifying information
for each t

 

 

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Check only if this is an EMERGENCY grievance due to a substantial risk of fmminent personal injury or other serlous or Imeperable harm to self.
DD Check if this ls NOT an emergency grevance.

Offender's Signature De Data
(Gonunue on roverse alda if necessary)

 

| Counselor's Response (if sppiicable) |

 

 

 

 

 

 

 

 

 

 

Date

Received: { { C1) Send diractly to Grievance Officer (Outside jurisdiction of this facility. Send ta
Administrative Review Board, P.O. Box 19277,
Springtield, i. 62794-9277

Resp

f /
Print Counsciors Name Counselor's Signature Date of Response
| EMERGENCY REVIEW
Date
Received: { t 1s this determined to be of an emergency nature? (7) Yea: expedite emergency grievance

 

C1 Wo: an emergency is not substantiated.
Offender shoutd submit this grevence
in the normal manner,

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Chict Administrative Otficer’s Signature Date

 

 

 

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ILLINOIS DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE (Continued)

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Case 3:19-cv-00637-RJD Document1 Filed 06/12/19 Page 39 of 49 page ID #39

ILLINOIS DEPARTMENT OF CORRECTIONS

 

 

 

 

 

 

 

 

OFFENDER'S GRIEVANCE
Date: Offender. 1D2:
SHI) e (Please Print) Sma WOMGRL
Present Facltity: Facility where grievance
Mestparls CC. issue occurred: Mennier CC:
NATURE OF GRIEVANCE:
C Personal Property (© Mail Handling (0 Restoration of Good Time = [[] ADA Disability Accommodation
GH Statf Conduct CI Dietary C) Medical Treatment (1 HIPAA
( Transfer Denial by Facitity EY Other anooy: COMAL TIONS
{J Disciplinary Report: { i
Date of Report, Facility where issued

 

Notes: Protective Custody Deniais may be grieved immediately via the focal administration on the protective custody status natificatian,

Complete: Attach a copy of any pertinent document (such as a Disclpiinery Report, Shakedown Rocord, ote.) and send to:
Counselor, unless the issue invatves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only If the issue involves discipline at the present facility or issue not resolved by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.
Administrative Review Board, only If tha issue involves protective custody, Involuntary administration of psychotropic drugs, issuas from
another facility except medical and personal property issues, or Issues not resolved by the Chief Administrative Officer.

 

Summary of Gri {Provide inf including a ¢: ion of whet
for cach person t d)

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(1) Check if this is NOT an emergency grievance.

 

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(Continua on reverse sida if nocassary)

 

| Gounselor’s Response (it applicable) |

 

Date

Recelved: i CJ Send directly to Grievence Officer 1] Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, {L 82794-9277

Response:

 

 

 

 

f i
Print Counseior's Name Counselor's Signature Date of Response

 

 

| EMERGENCY REVIEW |

 

Date
Received: i i Is this determined to be of an emergency nature? [[] Yes; expedite emergency grievance

© No; an emergency Is not substantiated.
Offender should submit this griavance
in the nannal manner.

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Chief Acministrative Officer's Signature Date

 

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Case 3:19-cv-00637-RJD Document1 Filed 06/12/19 Page 40 OF AS sal Page ID #40

{Lunors DEPARTMENT OF CORRECTIONS

OFFENDER'S GRIEVANCE (Continued)

 

 

 

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DOC 0046 (1/2018)

 
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ILLINOIS DEPARTMENT OF CORRECTIONS
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A
RESPONSE TO OFFENDER'S GRIEVANCE . lt X -O % =k
gt
| Grievance Officer's Report

 

Date Received: June 7, 2018 Date of Review: August 24, 2018 Grievance #ioptonal): 104-6-18

wees -- : == — - o- Offender: Smith. Tyrone—~ o ae Pe ae ee tem ee oe meas ‘IDs: NQ1634 a te -

Nature of Grievance: Disciplinary Report dated 5/8/2018 issued by B. Mitchell for 203 Drugs and Drug Paraphernalia - 201800635/1-MEN

 

 

 

Facts Reviewed: All information submitted to the Grievance Officer by the offender ar institutional staff pertaining to this issue(s) being gricved
has been thoroughly reviewed. Offender submitted a grievance dated 5/8/2018 regarding the above disciplinary report. Offender grieves on
1/14/2018 he was placed in Investigative Status at STA and received an ODR for 203 Drugs and Drug Paraphernalia and 311 Failure to submit to
Medical or Forensic Tests, He went before the Adjustment Committee on 1/23/2018 and the COR was expunged. There was another ODR written
on 2/5/2018 for the same offense and that ODR was expunged. Then on 5/8/2018 he received another disciplinary report form STA Intel for 203
Drugs and Drug Paraphemalia and 311 Abuse of privileges. He states he never had drugs on him and he was never charged with having drugs. He
states that the substance found in the visiting room was never tested by Intel staff nor by the state police. He grieves that now 112 days later the
Intel Unit comes up with 3.2 grams of opiates, He was not served a ticket within the (8) days required to serve a ticket.

Relief requested: “To be released from disciplinary segregation my visits restored, punitive and compensatory damages $50,000.00, these
disciplinary reports removed from my master files,” Grievance Office reviewed IDR, Ticket Summary, DR 504 procedures & contacted the
Adjustment Committec and Lnvestigations and Intelligence,

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Per DR 504.80 Prior to the hearing, the offender may request that witnesses be interviewed. No requests for witness received by Committee.
ODR #203800100/1-MEN and ODR 4201900145/1-MEN were heard and expunged according to procedures set in DRSO4.

ODR #201800635/1-MEN was written on 5/8/2018 from the conclusion of an internal Investigation and served to the offender on 5/10/2018 at 7:40
pm by Officer Hopkins. ft is documented that the offender that the offender refused to sign the licket. The hearing was conducted by the Adjustment
Committee on 5/15/2018. The CAO concurred with the Adjustment Committee's decision of (6) months C-Grade, Segregation, Commissary
Restriction and contact visit restriction on 6/4/2018, The offender was served a copy of the Final Summary on 6/8/2018.

i The facts provided in the disciplinary report support the charges according to DR504, and document the conclusion of the internal investigation. The
: Committee is not required to discuss the details of confidential investigations or nate on the summary (ie: video surveillance), The Committee
advised the hearing was in accordance with DR504 and documented correctly.

The Committers advised the hearing was in accordance with DR 504.80, Offender was permitted to make statements in his defense and the offender
plead not guilty and stated “because it is out of time allowance” as noted on the final summary.

Continued on page 2...

Recommendation: Based upon a total review of all available information, it is the recommendation of this Grievance Officer that the inmate's
grievance be DENIED.

BASED ON, THE NATURE OF THE CHARGES AND DISCIPLINARY HISTORY, THE SANCTIONS IMPOSED BY THE ADJUSTMENT
COMMITTEE ARE FOUND TO BE CORRECT AS WRITTEN AND PROCESSED IN ACCORDANCE WITH DR 504. DISCIPLINARY
ACTION SHALL REMAIN AS EMPOSED.

 

 

 

 

 

 

 

tc
- ional Ks
Print Grievance Officer's Nama “GS Officer's Sig
{Attach a copy of Offender's Gri yt di tors tt )
| Chief Administrative Officer’s Response |
Date Received: Aucust 30, 2018 1 concur 1 1! do net concur 1 Remand

Comments:

 

 

 

 

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Offender’s Appeal To The Director |

 

 

 

 

: lam appealing the Chief Administrative Officer's decision ta the Director. | understand this appeal must be submitted within 30 days after the date of the
I Chief Administrative Officer's decisign to the Administrative Review Board, P.O. Box 19277, Springfield, IL 62784-9277, {Attach @ complate copy of the
ig g 2, including the lors tt and say di J

 

Offenders Signature Ine Oste

 

 

 

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ILLINGIS DEPARTMENT OF CORRECTIONS
RESPONSE TO OFFENDER'S GRIEVANCE (Continued)

 

Continued...

According (o the disciplinary report written by B. Mitchell, The IDR was completed st the conclusion of an investigation. On 1/14/2018 et Stateville,
the Intelligence Unit was notified that offender's Craig Lomax, K77112 and Tyrone Smith, NO1634 both bad visits and monitored the video camera
footage of the visits. Lomax received a visit from his girlfriend (Crystal Perez, Visitor #866741D) snd Smith was being visited by Jeanetta Melton
(Visitor #054191) and Lomax’s two juvenile daughters. Lomax and Smith were seated next to each other, and during the visit there were numerous
seat changes by the visitors and several food items bought from the vending machines. At 1:55 pm, Lomax (table 22} gave a patato chip bag to
Melten (table 21). Melton retrieved a small package from her left boot and placed it inside the potato chip bag. She then handed the bag back io
Lomax. Several Minutes later, Lomax handed the bag back to Melton and Melten handed the bag to Smith. lntel/IA staff went to the visiting room
and restrained Lomax and Smith while other unit staff continued to manitar the camera. While being escorted out, Smith dropped a small package (a
condom with a hard grey substance inside of it) on the flacr. The contraband was recovered and taken to the Investigations Unit. The substance
weighted 3.2 grems and was identified by Illinois State Police as opiates. Additional, a silver chain and two silver dog tags were also recovered
inside the potato chip bag. Offenders Lomax K77112 and Smith NQ163¢ identified by institutienal graphics.

Committee finds inmate guilty based on Information provided and accepts the written report ta be factual account of the incident and is satisfied the
violations occurred as reported. Officer Starkey witnessed the incident and stated IDR is correct as written.

 

 

 

Olstribution: Master File; Offender Page 2 DOC 0047 (Rev. 3/2005)

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OFFENDER'S GRIEVANCE he 84 =

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NATURE OF GRIEVANCE: 184 a-(8

C1 Personal Property O Maidending OF Restoration ofGeodTima = O ADA Disability Accommodation

Staff Conduct. C1 Dietary C1 Maedicat Treatment 0 nipaa
(] Transfer Denial by ee OJ Transfer Dental by Trensfer Coordinator CJ Other tspecyy
Gt RS LVI _SiAdevicle = COD Menbeh c

 

Noto: Piptntive Custody Denials may be grieved immediately via tha local administration on the protective Custody status notification,

Complete: Attach a copy of any pertinent document (such an a Disciplinary Repart, Shakrdoun Record, ec.) and send to:

Counselor, luniess the Issue Involves discipline, Js deemed an emergency, or is subject to direct review by tha Administrative Review Board,
Grievance Officer, only if the issua Involves diselptina at tha present facility or issue not rasalved by Counselor.

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| | Counselor's Response (Hf applicable) |

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ILUNGIS DEPARTMENT OF CORRECTIONS Me -
RESPONSE TO OFFENDER'S GRIEVANCE

 

 

| Grievance Officer's Report |
Date Received: March 26, 2018 Date of Review. May 14, 2018 | Grievance #{optcnaly 293-3-18
Offender: Smith, Tyrone iO: NOL

 

 

Nature of Grievance: IDR

Facts Reviewed: All information submitted to the Grievance Officer by the offender or institutional staff pertaining to this issue(s) being grieved
hag been thoroughly reviewed. Offender submitted a grievance dated 3/13/2018 and grieves that on 1/ 14/2018 while on a visit at Stateville C.C. he
was ordered to cuff up and was escorted to the Intel Office and after (4) hours of him not being able to urinate he was transferred to X-House and
charged with 203 Drugs and Orug Paraphernalia and 311 Fallure to submit to medical or forensic tests. He was placed on investigative status at
Stateville C.C. He was transferred to Menard on 1/17/2018 and when his ticket was heard by the Adjustment Committee it was dismissed.

Relief requested: “To be sent back to Stateville CC. and to be compensated for the (9) days spent in Disciplinary Segregation. A Total of (9) days
one (1) Hundred Dollars a day for the pain and suffering.”

Counselor responded on 3/22/2018 — Institutional placement and cell placement are administrative devisions. Offender did not receive an IDR.
Grievance Office reviewed on 5/14/2018 - Institutional placement and cell placement are an administrative decision.

Ticket #204800100/1 - MEN for 203 Drug Paraphernatia was Expunged on 1/23/2018 and Ticket #20!1800145/1-MEN for 203 Drugs and Drug
Paraphernalia was Expunged on 2/15/2018.

The offender was issued Ticket 4201800635/1-MEN for Drugs and Drug Paraphemalia due to an investigation and was found guilty on 5/15/2018.

Based on the observation of the reporting employee an investigation was completed on UM Smith-NO1634 while /M smith was on a visit when it
was observed visitor Melton took small package from her left boot. The small package made it way to I/M smith who dropped it while being
escorted out. The package was recovered and taken to the investigation unit. It was identified as 3.2 grams of opiates. Committes finds inmate guilty
based on information provided and accepts the written repart to be factual account of the incident and is satisfied the violations occurred as reported.
Officer Starkey witnessed the incident and stated IDR is correct as written,

The Grievance Office cannot award monetary compensation.

Recommendation: Based upen a total review of all available information, it is the recommendation of this Grievance Officer that the inmate’s
grievance be DENIED. The offender was found guilty of IDR charges.

  

Print Grlovance Officar’s Name Officer's Signatura
{Attach a copy of Offonder's Grievance, Including counselor's response If 2 Heabia}

 

 

 

| Chief Administrative Officer’s Response |

Date Received: Junc 14, 2018 1 concur 0) | do not concur O Remand

Comments:

 

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Offender's Appeal To The Director |

am appealing the Chief Administrative Officer's decision to the Director. | understand this eppeal must be submitted within 30 days after the date of the
Chief Administrative Officar's decision to the Administrative Review Board. P.O, Box 19277, Springfield, iL 62794-9277. (Attach a completa copy of the
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Offenders Signature De Date

 

 

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